Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.957 Filed 08/05/21 Page 1 of 18




                           United States District Court
                           Eastern District of Michigan
                                Southern Division

        United States of America,

                        Plaintiff,
                                               Hon. Denise Page Hood
                   v.
                                                  Case No. 19-20478
    D-1 Aleksandr Grichishkin,

                    Defendant.
                                        /

                 Government’s Sentencing Memorandum

   I.      INTRODUCTION

         The United States offers this memorandum in anticipation of

the August 18, 2021 (11:00 am) sentencing hearing for D-1

ALEKSANDR GRICHISHKIN (“GRICHISHKIN”). For the reasons

below, the Government requests that the Court:

         (1) find GRICHISHKIN’s sentencing guideline range to be 87-108

           months for Conspiracy to Engage in a Racketeer

           Influenced Corrupt Organization (Count One), based on

           Offense Level 29 and Criminal History Category I, as the

           probation department recommends, PSR ¶¶ 49-50; and

         (2) sentence GRICHISHKIN as recommended by the Government
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.958 Filed 08/05/21 Page 2 of 18




           in a separate document filed under seal.

         This sentence will be sufficient, but not greater than necessary, to

meet the sentencing goals of 18 U.S.C. § 3553(a).

   II.     BACKGROUND

         Mr. GRICHISHKIN’s plea agreement and presentence report

(“PSR”) contain extensive information about his offense that needs not

be repeated here. See Plea Agreement, ECF No. 61, PageID.241; PSR

¶¶ 7-16. However, a general overview derived from the factual basis for

GRICHISHKIN’s plea is offered for context.

         Defendants ALEKSANDR GRICHISHKIN, Andrei Skvortsov,

Aleksandr Skorodumov, and Pavel Stassi were founders and/or

members of a so-called “bulletproof” hosting organization (the

“Organization”). The Organization rented Internet Protocol (IP)

addresses, servers, and domains to cybercriminal clients, who used this

technical infrastructure to disseminate malware used to gain access to

victims’ computers, form botnets, and steal banking credentials for use

in frauds. Malware hosted by the Organization included Zeus, SpyEye,

Citadel, and the Blackhole Exploit Kit, which rampantly attacked U.S.


                                        2
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.959 Filed 08/05/21 Page 3 of 18




companies and financial institutions between 2008 and 2015 and

caused or attempted to cause millions of dollars in losses to U.S.

victims. A key service provided by the defendants was to help their

clients to evade detection by law enforcement and continue their crimes

uninterrupted. The defendants did so by monitoring sites used to

blocklist technical infrastructure used for crime, moving “flagged”

content to new infrastructure, and registering all such infrastructure

under false or stolen identities. The proprietors, GRICHISHKIN and

Andrei Skvortsov, launched the Organization in approximately August

2008 and were its operational leaders. As the day-to-day manager,

GRICHISHKIN addressed the criminal needs of the business on a

routine and consistent basis for the entire period of its existence.

Specific instances of his criminal conduct on behalf of the Organization

are detailed in the factual basis for his plea. See Plea, ECF No. 61,

PageID.248, ¶ 5.I(a)-(h).

   III.   SENTENCING GUIDELINES

      U.S. Probation and the parties agree that the applicable guideline

range is 87-108 months for Conspiracy to Engage in a Racketeer


                                      3
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.960 Filed 08/05/21 Page 4 of 18




Influenced Corrupt Organization (Count One). PSR ¶¶ 49-50.

   IV.   SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

      1. The Nature and Circumstances of the Offense

      GRICHISHKIN managed an organization that helped criminals

deploy malware and steal money from others for approximately seven

years. See Plea ¶ 5 (passim). As the Organization’s everyday leader,

GRICHISHKIN oversaw efforts to advertise their bulletproof hosting

services in online cybercrime forums, set pricing for these services,

negotiated and interfaced with clients seeking Internet infrastructure

to be used in spamming and malware operations, managed employee

hiring and compensation, and supervised the systems administrators’

and other employees’ work. He also regularly instructed other members

of the Organization on how to “resolve” abuse notices by, among other

methods, moving the affected clients’ data to new, “clean” domains and

IP addresses. He operated under a variety of online aliases. In doing so,

he was fully aware of the Organization’s criminal reach and

consistently intended to (and did) help expand this reach.

GRICHISHKIN embraced – on a daily basis – the Organization’s


                                      4
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.961 Filed 08/05/21 Page 5 of 18




criminal purposes for approximately seven years for, in his words,

“financial security.” PSR ¶ 19.

       During this time, the malware programs knowingly hosted by the

Organization caused millions of dollars’ worth of losses to U.S. financial

institutions and U.S. victims (and others globally). See Plea ¶ 5.E.

Given the significant difficulty in calculating an exact loss figure

attributable to malware infections delivered by or otherwise aided by

the Organization’s technical infrastructure, the parties stipulated to a

conservative loss amount of greater than $3.5 million in actual and

attempted losses. See Plea ¶ 8.D. However, based on open-source

research, the Government believes that these malware program caused

losses (at least some of which were attributable to the Organization)

that were much higher. By some estimates, Zeus caused at least $43

million in losses, and SpyEye caused between $64 million and $726

million in losses, in 2011 alone.1 The Department of Justice’s press

release issued following the sentencing of Citadel’s developer asserts

that, “[a]ccording to industry estimates, Citadel infected approximately


1See Ex. 1 (Financial Services Information Sharing & Analysis Center
statement submitted in connection with another sentencing).
                                      5
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.962 Filed 08/05/21 Page 6 of 18




11 million computers worldwide and is responsible for over $500 million

in losses.” 2 Dyre, the malware involved in the 2015 intrusion described

in Paragraph 5.I.h. of GRICHISHKIN’s plea, was likewise estimated to

have caused “many millions of dollars” in losses.3 Finally, security

company TrendMicro asserts that “[b]y 2011, …[the Blackhole Exploit

Kit] was responsible for more than 90 percent of new [malware]

infections documented by [anti-virus company] AVG, and it still

accounted for more than half of similar incidents in 2012,”4 strongly

indicating additional and significant losses may have been caused by

the Organization’s distribution of Blackhole during this period.

      Finally, the impact of the bulletproof hosting, and the consequent

computer intrusion, identity theft, and financial fraud, was not only

monetary. For example, in his/her victim impact statement, the


2 See U.S. Dept. of Justice, Russian Citizen Who Helped Develop the
"Citadel" Malware Toolkit Is Sentenced, July 19, 2017,
https://www.justice.gov/usao-ndga/pr/russian-citizen-who-helped-
develop-citadel-malware-toolkit-sentenced-0.
3 See Security Intelligence, Dyre Straits: Group Behind the Dyre Trojan

Busted in Moscow?, Feb. 9, 2015, https://securityintelligence.com/dyre-
straights-group-behind-the-dyre-trojan-busted-in-moscow/.
4 TrendMicro, The Aftermath of the Blackhole Exploit Kit’s Demise, Jan.

29, 2014, https://blog.trendmicro.com/aftermath-blackhole-exploit-kits-
demise/.
                                      6
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.963 Filed 08/05/21 Page 7 of 18




Superintendent for a school district in New York describes in detail the

devastation s/he and the district suffered as a result of a malware

infection aided by the Organization under GRICHISHKIN’s day-to-day

management. The Superintendent states:

      I was the school superintendent in [redacted] at the time the
      key logger was put on one of our computers which allowed
      the theft of millions of dollars. … [redacted] is a small
      district with about 800 students at that time. Parents are
      either middle income or work for minimum wage. Most
      homes, including mine, had no high-speed internet. Students
      without high speed at home often had to drive to the school
      nights or weekends and sit in the parking lot to get their
      schoolwork done. I just could not wrap my head around how
      and why the money had been stolen. How was I going to tell
      the taxpayers that we had lost eight (8) million dollars? How
      was I going to call each of my seven board members and
      explain it to them? How was it fair for hard working people,
      including people making minimum wage, to shoulder this
      loss? How many sports, clubs and extra-curricular events
      would have to be taken from the students? Needless to say,
      it was several terrible months for the students, taxpayers,
      employees and myself.

      It was an unthinkable attack on the school’s mission as that
      experience nearly devastated the learning and enrichment
      environment for the children. The school is and has always
      been the hub of the rural community. Providing students the
      support, dedication, quality instruction and experiences they
      need as they strive to fulfill their dreams and aspirations for
      the future in a safe environment. The theft was a direct
      attack on that environment. The emotional impact was great
      for the school community. There is not a day that goes by

                                      7
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.964 Filed 08/05/21 Page 8 of 18




      that I do not think about it …The financial impact still lurks
      over the community and the theft has left the children
      without all its resources to this day.

Ex. 2 (Victim Letter (redacted)).

      As the Court knows from the Plea Agreement, GRICHISHKIN’s

management of this Organization also affected individual victims. See

Plea ¶¶ 5.H.b., 5.I.h. For example, under GRICHISHKIN’s leadership,

the Organization used a stolen U.S. passport of victim “C.D.,” a real

person in the United States, and a fraudulently created utility bill in

C.D.’s name, to register a web-hosting account, an account that was

open until approximately January 2014. Id. at ¶ 5.I.f. The government

has been in touch with “C.D.” and understands that “C.D.” was aware,

since at least 2010, that his personal identifying information was stolen

and being used by others, all around the world, without his consent. It

is hard to imagine how difficult it would be to grapple with the

knowledge that one’s identity is being abused, without any ability to

prevent or control the effects. The sentence in this case needs to reflect

the seriousness of this wrong.

      The criminal organizations that purposefully aid others to

disseminate malware that maliciously infiltrates computers and
                                      8
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.965 Filed 08/05/21 Page 9 of 18




ravages U.S. financial institutions and their accountholders are no less

responsible for the harms these malware campaigns cause than their

clients. Based on the duration of GRICHISHKIN’s employment by the

Organization, as well as the extensive harm the Organization caused,

his offense is very serious in nature.

      2. GRICHISHKIN’s History and Characteristics

      GRICHISHKIN appears to have been raised in a stable home and

has no history of mental illness or abuse. See PSR ¶¶ 38, 42-43. He

continues to have support from his family, including that of his wife and

two children. Id. ¶¶ 39-40. Other than a “mild liver disorder,” he

appears to be a healthy man. Id. ¶ 41. He has no history of substance

abuse (at most, “minimal alcohol and marijuana use” and nothing since

at least 2013). Id. ¶ 44. He is highly educated, even receiving a

“master’s degree in civil law” from Moscow State Law Academy. Id. ¶

45. He attributes his approximate seven years of criminal activity

(committed from age 21 to 28 from “roughly 2008 to 2015”) to his desire

for “financial security,” which resulted in him rationalizing his

continued involvement, even after he “he learned that a large fraction of


                                      9
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.966 Filed 08/05/21 Page 10 of 18




… [the] income was derived from cyber criminal clients,” because the

Organization under his management did not enable “child pornography,

terrorism, and fake charities.” Id. ¶ 19.

      Unlike many defendants that come before this Court,

GRICHISHKIN had minimal or no barriers preventing him from

succeeding in a legitimate job. By his role as a proprietor and his

approximate seven years of managerial conduct in this very case, he has

demonstrated he had and has the skills and savvy to be gainfully

employed in a non-criminal position. He could have achieved “financial

security” and avoided victimizing others simply by doing the good he

was capable of. Yet, for at least seven years, he chose to manage an

Organization that helped others steal money from victims. Nothing in

his personal background explains why.

      Nevertheless, the Government is cognizant that since

approximately 2015, GRICHISHKIN appears to have made efforts to

work in a “completely legitimate” manner. Id. ¶ 19.

      3. The Need for the Sentence Imposed to Reflect the Seriousness of
         the Offense, to Promote Respect for the Law, and to Provide Just
         Punishment for the Offense


                                      10
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.967 Filed 08/05/21 Page 11 of 18




      Malware impacts U.S. financial institutions and victimizes

American citizens every day. While law enforcement labors to bring

cybercriminals to justice, criminal organizations like the one

GRICHISHKIN co-founded purposefully aid these cybercriminals by

helping them maximize their profits and avoid law enforcement

detection, thereby incentivizing their clients to continue their crimes.

Because of the essential services they provide, bulletproof hosters share

the criminal responsibility of their clients. A sentence that reflects this

reality is necessary both to deter others who might rationalize similar

criminal conduct (concluding, for example, as GRICHISHKIN did, that

they are less responsible because they supported “certain ethical

standards” by not disseminating malware that supported “child

pornography, terrorism, and fake charities”) and to increase the costs to

cybercriminals (who are less able to profitably or “safely” disseminate

malware without the insulation provided by bulletproof hosters). A

Guideline sentence is necessary to reflect the seriousness of the offense,

promote respect for the law, and provide just punishment.

      4. The Need for the Sentence Imposed to Afford Adequate
         Deterrence to Criminal Conduct and to Protect the Public from

                                      11
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.968 Filed 08/05/21 Page 12 of 18




         Further Crimes of GRICHISHKIN

      Specific deterrence of GRICHISHKIN’s criminal behavior appears

unnecessary. Due to the complexity of the offense conduct, the

international nature of the crime, and the length of the Government’s

investigation, GRICHISHKIN was not charged until 2019. He appears

to have made efforts to engage in legitimate work and develop a stable

family life since “around 2015.” Id. ¶¶ 19, 39.

      However, as noted above, a Guideline sentence is important to

deter others who may be tempted by the allure of easy profits from

these problematic crimes.

      5. The Need to Avoid Unwarranted Sentencing Disparities

      The sentences (of which the Government is aware) for defendants

in similar cases have varied significantly based on the scope of the

conduct and the losses caused, ranging from 33 months to 18 years. See,

e.g., United States v. Bondarenko et al. (Leopard), No. 2:17-CR-306-29,

ECF No. 813 (D. Nev. Mar. 24, 2021) (bulletproof hoster sentenced to 60

months’ imprisonment following guilty plea and cooperation); United

States v. Sahurovs et al. (Sahurovs), No. 0:11-CR-177-1, ECF No. 80 (D.


                                      12
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.969 Filed 08/05/21 Page 13 of 18




Minn. Sept. 12, 2018) (bulletproof hoster sentenced to 33 months’

imprisonment following guilty plea, with credit for 18 months of time-

served). While not providing bulletproof hosting infrastructure,

enablers of cybercrime in other cases have also received lengthy

custodial sentences. See, e.g., United States v. Vega, No. 1:07-CR-707-1,

ECF No. 105 (E.D.N.Y. Dec. 18, 2013) (founder of cybercrime

marketplace CarderPlanet, which was used to check validity of and sell

stolen credit cards, sentenced to 18 years imprisonment following guilty

plea); United States v. Bondars et al., No. 1:16-CR-228, ECF No. 168,

248 (E.D. Va. Sept. 21, 2018 and Apr. 19, 2019) (defendants hosting

“Scan4You,” a site providing infrastructure and tools used in

cybercrime, sentenced to 168 months following trial and 78 months

imprisonment following plea, respectively); United States v. Burkov, No.

1:15-CR-245, ECF No. 53 (E.D. Va. June 26, 2020) (operator of two

online forums devoted to the facilitation of payment card fraud,

computer hacking sentenced to 108 months imprisonment following

guilty plea); United States v. Pleshchuk et al. (Seleznev), No. 1:09-CR-

491-13, ECF No. 316 (N.D. Ga. Dec. 1, 2017); United States v. Seleznev,


                                      13
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.970 Filed 08/05/21 Page 14 of 18




1:17-CR-306-1, ECF. No. 9 (N.D. Ga. Dec. 4, 2017) (member of

cybercrime forum whose members trafficked in stolen credit cards and

counterfeit documents, and committed bank fraud and computer crimes,

sentenced to 168 months imprisonment following guilty plea); and

United States v. Bondarenko, et al. (Okeakpu), No. 2:17-cr-00306-JCM-

VCF, ECF No. 892 (D. Nev. July 26, 2021) (Anthony Okeakpu sentenced

to 48 months of imprisonment following plea to RICO conspiracy for his

low level role moderating a forum for an online criminal marketplace).

      Finally, as the Guidelines calculation in his Plea Agreement

reflects, GRICHISHKIN, as day-to-day manager and one of the

proprietors, was a more significant participant in the Organization in

comparison to codefendants Pavel Stassi (sentenced to 24 months after

Government motion) and Aleksandr Skorodumov (not yet sentenced),

and it would be appropriate for him to receive a higher sentence than

they will. GRICHISHKIN had significant interaction with

cybercriminal clients and full visibility into the full scope of the

Organization’s criminal activities. While serving different functions, his

conduct appears to be similar to that of Andrei Skvortsov (not yet


                                      14
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.971 Filed 08/05/21 Page 15 of 18




sentenced).

        For all the reasons above, the Government submits that the

sentence proposed in a separate filing under seal would not create

unwarranted sentencing disparities with others.

   V.     RESTITUTION

        Restitution is mandatory. The Government has identified specific

victims who suffered actual losses during GRICHISHKIN’s

management of the Organization. Id. ¶¶ 17, 60. Based on the time

period that he and his coconspirators participated in the criminal

activities of this Organization, the Government requests that

GRICHISHKIN be held jointly and severally liable with co-defendants,

Andrei Skvortsov and Aleksandr Skorodumov, for the $298,172.00 due

to the victim noted in the PSR, and jointly and severally liable with co-

defendant, Andrei Skvortsov, for the $497,200.00 due to another victim

as noted in the PSR. Id.

   VI.    CONCLUSION

        In sum, the Government respectfully requests the Court:

   (1) find GRICHISHKIN’s sentencing guideline range to be 87-108


                                      15
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.972 Filed 08/05/21 Page 16 of 18




months for RICO Conspiracy (Count One); and

   (2) sentence GRICHISHKIN as recommended by the Government in

a separate document filed under seal.




                                      16
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.973 Filed 08/05/21 Page 17 of 18




      Such a sentence will be sufficient, but not greater than necessary,

to meet the sentencing goals of 18 U.S.C. § 3553(a).

                                           Respectfully submitted,

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Date: August 5, 2021




                                      17
Case 2:19-cr-20478-DPH-DRG ECF No. 94, PageID.974 Filed 08/05/21 Page 18 of 18




                       CERTIFICATE OF SERVICE

      I hereby certify that on August 5, 2021, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF.

                                           s/Patrick E. Corbett
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                                      18
